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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA



IN RE: NATIONAL FOOTBALL LEAGUE                     No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION INJURY                          MDL No. 2323
LITIGATION

Kevin Turner and Shawn Wooden, on behalf
of themselves and others similarly situated,        Hon. Anita B. Brody
                              Plaintiffs,
             v.
National Football League and NFL
Properties, LLC, successor-in-interest to NFL
Properties, Inc.,
                             Defendants.

THIS DOCUMENT RELATES TO:
ALL ACTIONS



                                                ORDER

       AND NOW, this 5th day of April, 2018, in accordance with the common benefit fund

Memorandum issued on April 5, 2018, it is ORDERED that Class Counsel is awarded

$106,817,220.62 in attorneys’ fees and $5,682,779.38 in costs ($112.5 million total).

       It is further ORDERED that Shawn Wooden, the estate of Corey Swinson, and the estate

of Kevin Turner are each to be paid $100,000 from the common benefit fund as an incentive

award for being Class Representatives.



                                                            s/Anita B. Brody

                                                      ___________________________
                                                      ANITA B. BRODY, J.




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